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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

In Re:                                         ) IN CHAPTER 7 PROCEEDINGS
                                               )
CLAYTON S. ROBIEN                              ) BK 21-30714
                                               )
          Debtors.                             )

                     MOTION TO COMPEL TURNOVER BY DEBTOR(S)

          Comes now Donald M. Samson, trustee, by his attorney, and files this Motion to Compel
Turnover by Debtor and in support thereof shows as follows:
          1. That debtor is under a duty to turnover to the trustee non-exempt property of the
estate.
          2. That the trustee has requested from the debtor turnover of:
                 a) Non-exempt funds in Midwest Members Credit Union savings account in the
                     amount of $1,131.41.
                 b) Comic books and toy/action figures
                 c) Copies of 2021 federal and state tax returns

          3. That debtor has failed to turnover said personal property, non-exempt funds, and tax
returns.
          WHEREFORE, Donald M. Samson, trustee, prays that debtor(s) be ordered to turnover to
Donald M. Samson, trustee, said personal property, non-exempt funds, and tax returns and for
such further relief as this court deems just and equitable.

DATE: 05/25/22

                                               /s/ Donald M. Samson
                                               DONALD M. SAMSON, Attorney for Trustee
                                               226 W. Main St., Ste., 102
                                               Belleville, IL 62220
                                               618-235-2226
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on the 25th day of May, 2022, a copy of the foregoing
document, Motion to Compel Turnover, was served upon the following electronically or by first
class mail:

Clayton S. Robien
907 E. Ferguson Ave.
Wood River, IL 62095

Michael J. Benson
Attorney at Law
801 Lincoln Highway, Ste. B
Fairview Heights, IL 62208

U.S. Trustee
Becker Bldg., Rm. 1100
401 Main St.
Peoria, IL 61602


                                                  /s/ Donald M. Samson
